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 EXHIBIT A
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                      Translation, Interpreting & Transcription                             Telephone (212) 766-4111
                      18 John Street                                                        Toll Free (800) 788-0450
                      Suite 300                                                             Telefax    (212) 349-0964
                      New York, NY 1°0038                                                   www.legallanguage.com




March 22, 2018

To whom it may concern:

This is to certify that the attached translation from German into English is an accurate representation of the
document received by this office. This document is designated as:

    Software Transft:r Agreement between Mr. Henry Kurz and Hemy Kurz Consulting GmbH

George Alves, the Manager of Translation Services of this company, certifies that Tom De Vogelaere, who
translated this document, is fluent in German and standard North American English, and is qualified to translate.

He attests to the following:

"To the best of my knowledge, the accompanying text is a true, full and accurate translation of the specified
document."




Sign/     of George Alves


sfscribed and sworn to before me this 22"' day of March 2018.




Notary Public, State 9f
No. 01GR6334361
Certificate filed in New Yark County
Qualified in Queens County
Commission Expires December 14, 2019


Sincerely,

Victor J. Hertz
President & CEO
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                             Software Transfer Agreement
                                            between

Mr. Henry Kurz, Feuerbacher Weg 206, 70469 Stuttgart (hereinafter referred to as "licensor")

                                               and

Henry Kurz Consulting GmbH, Feuerbacher Weg 206, 70469 Stuttgart, registered in the
Commercial Registry of Stuttgart under number HRB 735665 (hereinafter referred to as
"licensee")

The licensor and licensee are also hereinafter referred to as "parties".

§ 1 Object of the agreement
The object of this software transfer agreement (hereinafter also referred to as "agreement") is
to grant the rights of use and exploitation rights from the licensor to the licensee to the
following software solely created by the licensor (hereinafter also referred to as "object of the
agreement" or "software"):

The software, which was created and developed by the licensor in the year 2003, essentially
consists of the following components:

(a) CAL
CAL stands for "Configurator Abstraction Layer". This software enables you to conununicate
with different configurators through a standardized interface. Even SAP utilizes a large
variety of configurators which are all constructed in a very similar manner, and the
applications that use these configurators have to be changed constantly. CAL makes it
possible to exchange a configurator without having to rewrite the application.

Furthermore, CAL offers many additional possibilities and functions that the configurator
may not offer. The architecture of CAL is designed in such a way that it should become
possible to exchange a configurator during the term of validity. The purpose is to keep the
downtime of servers, which use CAL, to a minimum.

Technology: Java & XML.

(b) CALAdmin
CALAdmin enables the comfortable setup of CAL. Patches, which are required for proper
functioning, are automatically extracted from standard configurators.

The XML-files that are required for the setup are generated or processed directly by
CALAdmin.

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Technology: Java, JavaSwing, XML

(c) CALinstaller
CALinstaller is an installation tool that designs the installation and initial setup as easily as
possible. For example, the user is asked which configurators he would like to use with CAL
and where these configurators are located. Connection parameters, etc.

Technology: Java, Nullsoft Installer, XML

(d) CALWSServer
The so-called CALWSClient is an implementation of CAL. It makes use of another CAL-
configurator. It gives configurators that can simply function on the local comput~r.
CAL WSServer allows you to use a local configurator in a client/server scenario. A remote
computer connects to a CALWSServer using the CALWSClient. CALWSServer offers
additional advantages, such as various performance optimizations. Additionally, it is
indispensable for the visualization since 2 different applications must access the same
configuration. This is currently supported by just the CALWSServer.

Technology: Java, Apache-Struts, XML, WebServices

(e) WebConf
WebConf is an optimized configuration UL The most important aspect of this is the optimized
performance and expandability. If something changes to the configuration, only the currently
displayed data are updated. If the user navigates back and forth, the data will not be
requested again by the server but will originate directly from the browser cache. Even
dropdown boxes will only load all values when the user really wants to see them. The applied
Ajax technology makes it even possible to decouple the user from a slow configurator. The
user can enter additional values while the configurator still evaluates the previous entry. This
makes for a user experience like no other configuration UI can offer. WebConf communicates
with any configurator via CAL.

Technology: Java, Javascript, Dojo, Apache-Struts

(f) ConfVis
ConfVis communicates with a configurator via CAL. ConfVis typically uses the CALWSClient
since the joining of configuration sessions is currently only supported by the CALWSServer.
ConfVis is an independent web application that visualizes the current condition of the
configuration. Several viewers are supported, both in the 2D and 3D-area. Many viewers also
allow the interaction that subsequently also affects the configuration. In this case, ConfVis
changes the configuration and informs via an event WebConf that a change has occurred.


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Both applications are thus very loosely connected to one another. The "VisualizationEngine",
the VisualizationLogic and objects such as 3D-files, images, etc., are necessary to be able to
visualize a scene.

Technology: Java, Javascript, 02C, Batik, etc.

(g) VisualizationEngine
The VisualizationEngine looks as the current condition of the configuration and creates.
instructions for the viewer to present this scene correctly. For this purpose, visualization logic
is needed that connects the configurations to presentable rules. This visualization logic is
composed in a manner that is similar to a programming language. However, it does a
balancing act between procedural and declarative logic. Furthermore, visual and non-visual
objects can be defined that allows inheritance as in modern 00-languages. It is possible to
react to events of the configuration ills or visualization UI using the event handler (e.g. when
a book is taken from the shelves per drag & drop).

The VisualizationEngine consists of the following entities:
•Actions (such as commands in programming languages)
•Controls (contingent versions such as IF-THEN-ELSE, SWITCH, etc.)
•Segments (a segment is a listing of actions/controls)
•Rules (determine rules/calculate values)
•Events (events of any type, e.g. object is produced)
•Functions (classification of the codes in individual, reusable functions)
• ObjectClass (declarative medium that is either virtual or a 2D/3D-category)

Technology: Java, Javascript, XML, 02C, SVC§

§ 2 Granting of rights
(1) The licensor hereby grants the licensee the unrestricted, exclusive and transferable (see, to
that end, in detail under (3)) right in terms of time and region to reproduce, disseminate, list,
issue or in any other way exploit or use the object of the agreement.

(2) The exploitation and use includes thereby particularly the right, but not limited to:
(a) to install the software and load it in the work memory or other memory of computers;
(b) to disseminate the software, particularly sell, lease, loan it, implement it in the hardware
of products or in any other way issue or reproduce it;

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(c) to process the software while upholding any moral rights, to change, decompile and
compile it, bind, integrate or incorporate, newly design, shorten in other software, or transfer
to other types of work.

(3) The licensee must only transfer the rights granted according to this agreement with the
consent of the licensor. This also applies with respect to the transfer of simple (non-exclusive)
rights of use and exploitation rights to third parties. As soon as the licensor no longer grants
his consent to a transfer of rights to third parties, transfers of rights to third parties should no
longer take place and previous transfers of rights to third parties become ineffective.

(4) If the licensor further develops and/or edits the software in the future, the licensor her~by
grants to the licensee all rights to these further developments and edits under the same
conditions and to the same extent as described under§ 2 (1), (2), (3).

§ 3 Transfer of the software
The licensor will entrust to the licensee the number of reproduction pieces of the object of the
agreement in machine-readable format at his option either on a data carrier that is typical at
that point in tie or via remote data transfer which are required to exercise the rights of use and
exploitation rights. The licensee receives the documentation as an electronic document, as
well as a copy of the user manual of the object agreement as an electronic document.

§ 4 Compensation
The licensee pays to the licensor a compensation, the amount of which is evident from
appendix 1 to this agreement, for the granting of the rights granted by the licensor to the
licensee and the transferred rights, respectively, according to this agreement.

§ 5 Claims in case of defective titles
(1) The rights to the software granted by the licensor are exempt from rights of third parties
who are opposed to an exploitation and use of the software according to the agreement.

(2) If there defective titles, the licensor (a) is entitled at its option (i) through lawful measures
to eliminate the rights of third parties, which influence the use of the software according to
the agreement, or (ii) their assertion, or (iii) change or replace the software in such a way that
they no longer violate rights of third parties when and if, as a result thereof, the owed
functionality of the software is not significantly influenced, and (b) is committed to
compensate the necessary refundable costs of legal prosecution incurred by the licensee.

(3) If the exemption fails according to § 5(2) within an appropriate time frame set by the
licensee, the latter can withdraw from the agreement and seek damages under the statutory
premises at his option.


[signature]




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§ 6 Liability, damages
(1) According to this agreement, the licensor is liable only in accordance with the following
stipulations in (a) to (e):
(a) The licensor has unlimited liability for damage caused deliberately or in a grossly negligent
manner by the licensor, his legal representatives or executive employees, as well as for
deliberately caused damage by other agents; for gross fault of other agents, the liability is
determined according to the regulations for mild negligence listed in (e).

(b) The licensor has unlimited liability for damage caused deliberately or negligently 'from
fatalities, physical injury or damage to health caused by the licensor, his legal representatives or
agents.

(c) The licensor is liable for damage as a result of lacking promised characteristics up to the
amount that was included in the purpose of the promise and which was recognizable for the
licensor at the time of making the promise.

(d) The licensor is liable for product liability damages in accordance with the regulations in the
product liability act.

(e) The licensor is liable for damage resulting from the injury of cardinal duties by the licensor,
his legal representatives or agents; cardinal duties are the essential duties that form the
foundation of the agreement, which were decisive to enter into the agreement and on the
fulfillment of which the licensee relies. When the licensor has violated these cardinal duties in a
mildly negligent manner, his liability is limited to the amount that was foreseeable for the
licensor at the time of the respective service.

(2) The licensor is liable for the loss of data only up to the amount that would have accrued for
the recovery of the data while properly and regularly securing the data.

(3) Any further liability of the licensor is ruled out in principle.

(4) § 7 Final stipulations
(1) Changes to this agreement need to be made in writing in order to be effective. This also
applies for a change to this written form requirement.

(2) This agreement is subject to the law of the Federal Republic of Germany with the exception
of the United Nations Convention on Contracts for the International Sale of Goods of 4.11 .1980).

(3) For any legal dispute between the parties, of whatever nature, German courts only have
international jurisdiction.

[signature]


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(4) The parties agree on Stuttgart as the place of jurisdiction within Germany provided that such
a place of jurisdiction agreement is legally permissible.

(5) The invalidity of individual regulations of this agreement does not affect the validity of the
other regulations. In the event of invalidity of individual regulations, the parties are committed
to agree on effective regulations that, economically speaking, come as close as possible to the
intended purpose of the ineffective regulations. This applies accordingly for the closing of any
loopholes in this agreement.



Stuttgart, 12.02.2010
[signature]
Henry Kurz (Licensor)(Signature)

Stuttgart, 12.02.2010
[signature]
Henry Kurz Consulting GmbH (Licensee) (Signature)
represented by the CEO




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                            Softwareiibertragungsvertrag
                                         zwischen

Henn Henry Kurz, Feuerbacher Weg 206, 70469 Stuttgart (nachfolgend bezeichnet als
,,Rechtegeber")

                                            und

Henry Kurz Consulting GmbH, Feuerbacher Weg 206, 70469 Stuttgart, eingetragen im
Handelsregister des Amtsgerichts Stuttgart unter der HRB 735665 (nachfolgend bezeichnet als
,,Rechtenehmer")

Rechtegeber und Rechtenehmer werden nachfolgend auch als ,,Parteien" bezeichnet.

§ 1 Vertragsgegenstand
Gegenstand dieses Softwareiibertragungsvertrags (nachfolgend auch nur als ,,Vertrag"
bezeichnet) ist die Einraumung von Nutzungs- und Verwertungsrechten vom Rechtegeber an
den Rechtenehmer an der folgenden allein vom Rechtegeber geschaffenen Software
(nachfolgend auch als ,,Vertragsgegenstand" oder ,,Software" bezeichnet):

Die Software, die der Rechtegeber seit dem Jahr 2003 geschaffen und entwickelt hat, besteht
im Wesentlichen aus folgenden Komponenten:

(a) CAL
CAL steht fiir "Configurator Abstraction Layer". Diese Software ermoglicht es, iiber eine
standardisierte Schnittstelle mit unterschiedlichen Konfiguratoren zu kommunizieren. Selbst
die SAP benutzt unterschiedlichste Konfiguratoren, die zwar alle sehr ahnlich aufgebaut sind,
die Applikationen, welche diese Konfiguratoren nutzen, miissten stets abgeiindert werden.
Mit CAL ist es moglich, einen Konfigurator auszutauschen, ohne die Applikation urnschreiben
zumiissen.

CAL bietet dariiber hinaus viele weitere Moglichkeiten und Funktionen an, welche der
Konfigurator eventuell nicht bietet. Die Architektur von CAL ist so konzipiert, dass ein
Austausch eines Konfigurators wfiluend der Laufzeit ermoglicht werden soll. Ziel ist es, die
Downtime von Servern, wekhe CAL nutzen, moglichst gering zu halten.

Technologie: Java & XML.

(b) CALAdmin
CALAdmin ermoglicht das komfortable Setup von CAL. Aus Standardkonfiguratoren werden
automatisch Patches extrahiert, welche fiir die einwandfreie Funktionsweise erforderlich sind.

Die fiir das Setup benotigten XML Dateien werden direkt von CALAdmin generiert oder
bearbeitet.
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Technologie: Java, JavaSwing, XML

(c) CALinstaller
CALinstaller ist ein Installationstool, welches die Installation und <las erste Setup so einfach
wie moglich gestaltet. Der Benutzer wird z. B. gefragt, welche Konfiguratoren er mit CAL
nutzen mochte und wo sich diese Konfiguratoren befinden. Verbindungsparameter etc.

Technologie: Java, Nullsoft Installer, XML

(d) CALWSServer
Eine Implementierung von CAL ist der sag. CALWSClient. Er bed ient sich eines anderen CAL-
Konfigurators. Es gibt Konfiguratoren, welche lediglich auf dem lokalen Rechner
funktionieren. Mit CALWSServer ist es moglich, auch einen lokalen Konfigurator in einem
Client/Server Szenario zu verwenden. Dabei verbindet sich ein entfernter Rechner mittels
CALWSClient mit CALWSServer. CALWSServer bietet noch weitere Vorteile, wie diverse
Performanceoptimierungen. Er ist darilber hinaus unerlasslich fur die Visualisierung, da 2
unterschledliche Applikationen auf die gleiche Kon.figuration zugreifen miissen. Dies wird
derzeit lediglich mit CALWSServer untersti.itzt.

Technologie: Java, Apache-Struts, XML, WebServices

(e) WebConf
WebConf ist ein optimiertes Konfigurations UI. Der wichtigste Punkt ist die optimierte
Performance und Etweiterungsfiihigkeit. Andert sich etwas an der Konfiguration, so werden
lediglich die derzeit angezeigten Oaten aktualisiert. Navigiert der Benutzer hin und her, so
werden die Oaten nicht erneut vom Server angefragt, sondern stammen direkt aus dem
Browser Cache. Selbst Drop-Down Boxen laden erst alle Werte, wenn der Benutzer sie auch
wirklich sehen mochte. Durch die verwendete Ajax-Technologie ist es sogar moglich, den
Benutzer von einem langsamen Konfigurator zu entkoppeln. Der Benutzer kann weitere
Werte eingeben, wahrend der Konfigurator noch die vorherige Eingabe bewertet. Dies
ermoglicht eine User Experience wie bei keinem anderen Konfigurations UI. WebConf
kommuniziert mittels CAL mit einem beliebigen Konfigurator.

Technologie: Java, Javascript, Dojo, Apache-Struts

(f) ConfVis
ConfVis kommuniziert mittels CAL mit einem Konfigurator. Da derzeit das Joining von
Konfigurationssessions lediglich von CALWSServer unterstiitzt wird, nutzt ConfVis typischer
Weise den CALWSClient. ConfVis ist eine eigenstiindige Webapplikation, welche den
derzeitigen Zustand der Konfiguration visualisiert. Es werden verschiedene Viewer
untersti.itzt, sowohl im 2D- als auch 3D Bereich. Manche Viewer erlauben auch die Interaktion,
welche sich dann auch auf die Konfiguration auswirkt. In diesem Falle verandert ConfVis die
Kon.figuration und informiert iiber einen Event WebConf, dass es eine Ande rung gegeben hat.
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Damit sind beide Applikationen sehr lose miteinander gekoppelt Um eine Szene visualisieren
zu konnen, bedarf es der "VisualizationEngine", der VisualizationLogic und Objekte, wie 3D
Dateien, Bilder etc.

Technologie: Java, Javascript, 02C, Batik etc

(g) VisualizationEngine
Die VisualizationEngine schaut sich den aktuellen Zustand der Konfiguration an und erstellt
Instruktionen fiir den Viewer, um diese Szene korrekt dar zu stellen. Dazu bedarf es einer
Visualisierungslogik, welche die Konfiguration mit darstellbaren Regeln verbindet. Diese
Visualisierungslogik ist ahnlich einer Programmiersprache aufgebaut, macht dabei jedoch
einen Spagat zwischen prozeduraler und deklarativer Logik. Dariiber hinaus konnen visuelle
und nicht visuelle Objekte definiert werden, wekhe Vererbung wie bei modernen 00-
Sprachen erlauben. Mittels Eventhandler kann auf Ereignisse des Konfigurations UI's oder der
Visualisierungs UI reagiert werden (z. B. wenn ein Buch per Drag & Drop auf ein Regal
gezogen wird).

Die VisualizationEngine besteht aus folgenden Entitaten:
• Actions (iihnlich wie Kommandos in Programmiersprachen)
•Controls (Bedingte Ausfilhrungen, wie IF-THEN-ELSE, SWITCH, etc.)
• Segments (Ein Segment ist eine Auflistung von Actions/Controls)
• Rules (Regelu ermitteln/berechnen Werte)
• Events (Ereignisse jeglicher Art. Z.B. Objekt wird erzeugt)
• Functions (Aufteilung des Codes in einzelne, wiederverwertbare Funktionen)
• ObjectClass (Deklaratives Mittel, das entweder virtuell ist oder eine 2D/3D K.lasse)

Technologie: Java, Javascript, XML, 02C, SVG

§ 2 Einraumung von Recltten
(1) Der Rechtegeber gewahrt dem Rechtenehmer hiermit <las zeitlich und raumlich
unbeschrankte, ausschlieBliche (exklusive) und iibertragbare (siehe dazu im Einzelnen unter
(3)) Recht, den Vertragsgegenstand in jeder Form zu veivielfaltigen, zu verbreiten,
aufzufiihren, auszustellen oder in anderer Weise zu verwerten oder zu nutzen.

(2) Die Verwertung und Nutzung umfasst dabei insbesondere das Recht, ohne darauf
beschrankt zu sein:
(a) die Software zu instaUieren und in den Arbeitsspeicher oder sonstigen Speicher von
Computern zu laden;
(b) die Software zu verbreiten, insbesondere zu verkaufen, zu vennieten, zu verleihen, in die
Hardware von Produkten zu implementieren oder in sonstiger Weise abzugeben oder zu
vervielffiltigen;
(c) die Software - unter Wahrung evtl. Urheberpersonlichkeitsrechte - zu bearbeiten, zu
verandern, zu dekompilieren und zu kompilieren, zu binden, in andere Software zu


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integrieren oder einzuarbeiten, neu zu gestalten, zu ki.irzen oder in andere Werkformen zu
iibertragen.

(3) Der Rechtenehmer darf die nach diesem Vertrag eingeriiumten Rechte allerdings nur mit
Zustimmung des Rechtegebers weiteriibertragen. Dies gilt auch bezi.iglich der Ubertragung
einfacher (nicht-exklusiver) Nutzungs- und Verwertungsrechte an Dritte. Sobald der
Rechtegeber keine Zustimmung zu einer Rechtei.ibertragung an Dritte mehr erteilt, sollen
Rechteiibertragungen an Dritte nicht mehr vorgenommen werden und bisherige
Rechteiibertragungen an Dritte werden unwirksam.

(4) Soweit der Rechtegeber die Software kiinftig weiterentwickelt und/oder bearbeitet, so
riiumt der Rechtegeber dem Rechtenehmer hiermit bereits jetzt siimtliche Rechte an diesen
Weiterentwicklungen und Bearbeitungen zu denselben Bedingungen und im selben Umfang
ein, wie unter § 2 (1), (2), (3) beschrieben.

§ 3 Ubergabe der Software
Der Rechtegeber wird dem Rechtenehmer die zur Ausiibung der in diesem Vertrag gewahrten
Nutzungs- und Verwertungsrechte erforderliche Anzahl an Vervielffiltigungsstiicken des
Vertragsgegenstands in maschinenlesbarer Form nach dessen Wahl entweder auf einem zu
dem Zeitpunkt ilblichen Datentriiger oder per Datenfemiibertragung iiberlassen. Der
Rechtenehmer erhfilt die Dokumentation als elektronisches Dokument sowie eine Kopie des
Benutzerhandbuchs des Vertragsgegenstands als elektronisches Dokument.

§ 4 Vergiitung
Fi.ir die Einraumung der nach diesem Vertrag dem Rechtenehmer vom Rechtegeber
eingeraumten bzw. iibertragenen Rechte zahlt der Rechtenehmer dem Rechtegeber eine
Vergi.itung, deren genaue Hohe sich aus Anlage 1 zu diesem Vertrag ergibt.

§ 5 Anspriiche bei Rechtsmangeln
(1) Die vom Rechtegeber eingeriiumten Rechte an der Software sind frei von Rechten Dritter,
die einer vertragsgemrusen Nutzung und Verwertung entgegenstehen.

(2) Soweit Rechtsmangel bestehen, ist der Rechtegeber (a) nach seiner Wahl berechtigt, (i)
<lurch rechtrniiBige MaBnahmen die Rechte Dritter, welche die vertragsgemruse Nutzung der
Software beeintriichtigen, oder (ii) deren Geltendmachung zu beseitigen, oder (iii) die
Software in der Weise zu verandern oder zu ersetzen, <lass sie fremde Rechte Dritter nicht
mehr verletzen, wenn und soweit dadurch die geschuldete Funktionalitat der Software nicht
erheblich beeintrachtigt wird, und (b) verpflichtet, die dem Rechtenehmer entstandenen
notwendigen erstattungsflihigen Kosten der Rechtsverfolgung zu erstatten.

(3) Scheitert die Freistellung gemrus § 5(2) binnen einer vom Rechtenehmer gesetzten
angemessenen Nachfrist, kann der Rechtenehmer nnter den gesetzlichen Voraussetzungen
nach seiner Wahl vom Vertrag zuriicktreten oder mindern und Schadensersatz verlangen.


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§ 6 Haftung, Schadensersatz
(1) Der Rechtegeber haftet nach diesem Vertrag nur nach MaJSgabe der folgenden
Bestimmungen in (a) bis (e):
(a) Der Rechtegeber haftet unbeschrankt fiir vorsatzlich oder grob fahrlassig durch den
Rechtegeber, seine gesetzlichen Vertreter oder leitenden Angestellten verursachte Schaden
sowie filr vorsatzlich verursachte Schaden sonstiger Erfilllungsgehilfen; filr grobes
Verschulden sonstiger Erfiillungsgehilfen bestimmt sich die Haftung nach den unten in (e)
aufgefiihrten Regelungen fiir leichte Fahrlas~igkeit.

(b) Der Rechtegeber haftet unbeschrankt filr vorsatzlich oder fahrlassig verursachte Seba.den
aus der Verletzung des Lebens, des Korpers oder der Gesundheit durch den Rechtegeber,
seine gesetzlichen Vertreter oder Erfiillungsgehilfen.

(c) Der Rechtegeber haftet fiir Schaden aufgrund fehlender zugesicherter Eigenschaften bis zu
dem Betrag, der vom Zweck der Zusicherung umfasst war und der fiir den Rechtegeber bei
Abgabe der Zusicherung erkennbar war.

(d) Der Rechtegeber haftet filr Produkthaftungsschaden entsprechend der Regelungen im
Produkthaftungsgesetz.

(e) Der Rechtegeber haftet filr Schaden aus der Verletzung von Kardinalpflichten durch den
Rechtegeber, seine gesetzlichen Vertreter oder Erfilllungsgehilfen; Kardinalpflichten sind die
wesentlichen Pflichten, die die Grundlage des Vertrags bilden, die entscheidend filr den
Abschluss des Vertrags waren 1.µ1d auf deren Erfilllung der Rechtenehmer vertrauen darf.
Wenn der Rechtegeber diese Kardinalpflichten leicht fahrlassig verletzt hat, ist seine Haftung
auf den Betrag begrenzt, der fiir den Rechtegeber zum Zeitpunkt der jeweiligen Leistung
vorhersehbar war.

(2) Der Rechtegeber haftet fiir den Verlust von Daten nur bis zu dem Betrag, der bei
ordnungsgemii.Ber und regelmafSiger Sicherung der Daten zu deren Wiederherstellung
angefallen ware.

(3) Eine weitere Haftllng des Rechtegebers ist dem Grunde nach ausgeschlossen.

§ 7 Schlussbestimmungen
(1) Ai1derungen dieses Vertrags bedilrfen zu ihrer Wirkf;amkeit der Schriftform. Dies gilt
ebenso filr die Anderung dieses Schriftformerfordernisses.

(2) Auf diesen Vertrag findet das Recht der Bundesrepublik Deutschland mit Ausnahme des
UN-Kaufrechts (United Nations Convention on Contracts for the International Sale of Goods
vom 11.4.1980) Anwendung.

(3) Fiir einen Rechtsstreit unter den Parteien, gleich welcher Natur, sollen deutsche Gerichte
ausschlielSlich international zustandig sein.
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(4) Die Parteien vereinbaren innerhalb Deutschlands Stuttgart also Gerichtsstand, soweit eine
solche Gerichtsstandsvereinbarung gesetzlich zuli:issig ist.

(5) Die Unwirksamkeit einzelner Regelungen dieses Vertrags !asst die Wirksamkeit der
ilbrigen Regelungen unberilhrt. Im Falle der Unwirksamkeit einzelner Regelungen
verpflichten sich die Parteien, sich auf wirksame Regelungen zu verstandigen, die
wirtschaftlich dem intendierten Zweck der unwirksamen Regelungen am nachsten kommen.
Dies gilt entsprechend fiir die Schlie15ung etwaiger Lucken in diesem Vertrag.




Stuttgart, den 02.12.2010




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